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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


 ZEQIU WU, Individually and On                 Case No.
 Behalf of All Others Similarly
 Situated,
                                               CLASS ACTION COMPLAINT
                              Plaintiff,

                     v.                        JURY TRIAL DEMANDED

 GSX TECHEDU INC., LARRY
 XIANGDONG CHEN, and NAN
 SHEN,

                              Defendants.


      Plaintiff Zeqiu Wu (“Plaintiff”), individually and on behalf of all other

persons similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s

complaint against Defendants, alleges the following based upon personal knowledge

as to Plaintiff and Plaintiff’s own acts, and information and belief as to all other

matters, based upon, inter alia, the investigation conducted by and through


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Plaintiff’s attorneys, which included, among other things, a review of the

Defendants’ public documents, conference calls and announcements made by

Defendants, United States Securities and Exchange Commission (“SEC”) filings,

wire and press releases published by and regarding GSX Techedu Inc. (“GSX” or

the “Company”), analysts’ reports and advisories about the Company, and

information readily obtainable on the Internet. Plaintiff believes that substantial

evidentiary support will exist for the allegations set forth herein after a reasonable

opportunity for discovery.

                             NATURE OF THE ACTION

      1.     This is a federal securities class action on behalf of a class consisting

of all persons other than Defendants who purchased or otherwise acquired GSX

securities between June 6, 2019, and April 13, 2020, both dates inclusive (the “Class

Period”), seeking to recover damages caused by Defendants’ violations of the federal

securities laws and to pursue remedies under Sections 10(b) and 20(a) of the

Securities Exchange Act of 1934 (the “Exchange Act”) and Rule 10b-5 promulgated

thereunder, against the Company and certain of its top officials.

      2.     GSX was founded in 2014 and is headquartered in Beijing, the People’s

Republic of China (“PRC” or “China”). The Company was formerly known as

BaiJiaHuLian Group Holdings Limited and changed its name to GSX Techedu Inc.

in January 2019. GSX conducted its initial public offering on June 6, 2019 (the



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“IPO”), after which its American Depositary Shares (“ADSs”) began publicly

trading on the New York Stock Exchange (“NYSE”) under the ticker symbol

“GSX.”

      3.     GSX is a technology-driven education company that provides online K-

12 after-school tutoring services in China. The Company also provides a variety of

other tutoring courses and services, such as English courses for children in

kindergarten, foreign language courses, English test preparation courses for students

taking post-graduate entrance exams, professional courses for working adults

preparing for professional qualification exams, personal interest courses, and offline

business consulting courses.      Additionally, the Company operates Weishi, an

interactive learning platform on the popular Chinese digital application (“app”)

WeChat.

      4.     Throughout the Class Period, Defendants made materially false and

misleading statements regarding the Company’s business, operational and

compliance policies.      Specifically, Defendants made false and/or misleading

statements and/or failed to disclose that: (i) GSX overstated its profitability, revenue,

student enrollment figures, teacher qualifications, and teacher selection process; (ii)

the foregoing, once revealed, was foreseeably likely to have a material negative

impact on the Company’s financial results; and (iii) as a result, the Company’s public

statements were materially false and misleading at all relevant times.



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      5.     On February 25, 2020, Grizzly Research LLC (“Grizzly”) published a

report highlighting multiple alleged issues with GSX’s business and financial

operations (the “Grizzly Report”). Specifically, the Grizzly Report alleged, among

other issues, that the Company “has been drastically overstating its profitability in

its US public filings, especially for 2018”; Grizzly “found multiple strong

indications of past and current order ‘brushing,’” which are “essentially fake student

enrollments to boost student count”; “many of GSX’s reported students do not

actually exist”; and “[w]hile [GSX] touts its high-quality teacher recruitment

mechanism, [Grizzly] found a sign-up website that was not functional, multiple

allegations of GSX hiring teachers right out of college with no prior experience, and

fabricated teachers profiles.”

      6.     Following publication of the Grizzly Report, GSX’s ADS price fell

$1.33 per share, or 2.93%, to close at $44.09 per share on February 25, 2020.

      7.     Then, on April 14, 2020, Citron Research (“Citron”) published a report

highlighting additional alleged issues with GSX’s business and financial operations

(the “Citron Report”), including, among other issues, that the Company’s “2019

revenue was overstated by 70%,” that “sales revenues are largely exaggerated,” and

that the Company’s “filings are riddled with suspicious transactions.”




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      8.    Following publication of the Citron Report, GSX’s ADS price fell

$0.20 per share, or 0.64%, to close at $31.20 per share on April 14, 2020—a total

decline of 31.31% since the truth concerning GSX’s alleged fraud began to emerge.

      9.    As a result of Defendants’ wrongful acts and omissions, and the

precipitous decline in the market value of the Company’s securities, Plaintiff and

other Class members have suffered significant losses and damages.

                        JURISDICTION AND VENUE

      10.   The claims asserted herein arise under and pursuant to Sections 10(b)

and 20(a) of the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5

promulgated thereunder by the SEC (17 C.F.R. § 240.10b-5).

      11.   This Court has jurisdiction over the subject matter of this action

pursuant to 28 U.S.C. § 1331 and Section 27 of the Exchange Act.

      12.   Venue is proper in this Judicial District pursuant to Section 27 of the

Exchange Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1391(b), as the alleged

misstatements entered and the subsequent damages took place in this Judicial

District. Pursuant to GSX’s most recent annual report on Form 20-F, as of December

31, 2019, there were 85,791,762 Class A ordinary shares of the Company’s stock

outstanding. Every three of the Company’s ADSs, which trade on the NYSE,

represent two Class A ordinary shares of GSX stock. Accordingly, there are




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presumably hundreds, if not thousands, of investors in GSX’s ADSs located within

the United States, some of whom undoubtedly reside in New Jersey.

      13.    In connection with the acts alleged in this complaint, Defendants,

directly or indirectly, used the means and instrumentalities of interstate commerce,

including, but not limited to, the mails, interstate telephone communications, and the

facilities of the national securities markets.

                                      PARTIES

      14.    Plaintiff, as set forth in the attached Certification, acquired GSX

securities at artificially inflated prices during the Class Period and was damaged

upon the revelation of the alleged corrective disclosures.

      15.    Defendant GSX is a Cayman Islands corporation, with principal

executive offices located at Tower C, Beyondsoft Building, 7 East Zone, 10

Xibeiwang East Road, Haidian District, Beijing 100193, China. The Company’s

securities trade in an efficient market on the NYSE under the ticker symbol “GSX.”

      16.    Defendant Larry Xiangdong Chen (“Chen”) has served as GSX’s Chief

Executive Officer at all relevant times.

      17.    Defendant Nan Shen (“Shen”) has served as GSX’s Chief Financial

Officer at all relevant times.

      18.    Defendants Chen and Shen are sometimes referred to herein as the

“Individual Defendants.”



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      19.    The Individual Defendants possessed the power and authority to control

the contents of GSX’s SEC filings, press releases, and other market communications.

The Individual Defendants were provided with copies of GSX’s SEC filings and

press releases alleged herein to be misleading prior to or shortly after their issuance

and had the ability and opportunity to prevent their issuance or to cause them to be

corrected. Because of their positions with GSX, and their access to material

information available to them but not to the public, the Individual Defendants knew

that the adverse facts specified herein had not been disclosed to and were being

concealed from the public, and that the positive representations being made were

then materially false and misleading. The Individual Defendants are liable for the

false statements and omissions pleaded herein.

      20.    GSX and the Individual Defendants are collectively referred to herein

as “Defendants.”

                        SUBSTANTIVE ALLEGATIONS

                                    Background

      21.    GSX was founded in 2014 and is headquartered in Beijing, China. The

Company was formerly known as BaiJiaHuLian Group Holdings Limited and

changed its name to GSX Techedu Inc. in January 2019. GSX conducted the IPO

on June 6, 2019, after which its securities began publicly trading on the NYSE under

the ticker symbol “GSX.”



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      22.      GSX is a technology-driven education company that provides online K-

12 after-school tutoring services in China. The Company also provides a variety of

other tutoring courses and services, such as English courses for children in

kindergarten, foreign language courses, English test preparation courses for students

taking post-graduate entrance exams, professional courses for working adults

preparing for professional qualification exams, personal interest courses, and offline

business consulting courses.     Additionally, the Company operates Weishi, an

interactive learning platform on the popular Chinese app WeChat.

      23.      On May 8, 2019, GSX filed a registration statement (Registration No.

333-231275) on Form F-1 with the SEC in connection with the IPO, which, after

amendment, was declared effective by the SEC on June 5, 2019 (the “Registration

Statement”).

      24.      Then, on June 6, 2019, GSX filed a prospectus on Form 424B4 with the

SEC, which incorporated and formed part of the Registration Statement (the

“Offering Documents”). That same day, GSX conducted the IPO pursuant to the

Offering Documents, issuing 19.8 million ADSs to the public at the Offering price

of $10.50 per share, for total proceeds of approximately $193.35 million, after

underwriting discounts and commissions.




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    Materially False and Misleading Statements Issued During the Class Period

        25.    The Class Period begins on June 6, 2019, when GSX’s securities began

publicly trading on the NYSE pursuant to materially false or misleading statements

or omissions contained in the Offering Documents. For example, the Offering

Documents reported a net loss of RMB186.96 million and net income of RMB19.65

million for the years ended December 31, 2017 and 2018, respectively, and a net

loss of RMB3.60 million and net income of RMB33.89 million for the three months

ended March 31, 2018 and 2019, respectively. The Offering Documents also

reported a net revenue of RMB97.58 million and RMB397.31 million for the years

ended December 31, 2017 and 2018, respectively, and a net revenue of RMB46.91

million and RMB269.16 million for the three months ended March 31, 2018 and

2019, respectively.

        26.    With respect to student enrollment, the Offering Documents

represented that “total enrollments increased from 79,632 in 2017 to 767,102 in 2018

and from 70,845 for the three months ended March 31, 2018 to 211,002 for the three

months ended March 31, 2019”; and “[t]he average enrollments of [Defendants’]

online K-12 courses increased from approximately 400 per course in 2017 to

approximately 600 per course in 2018, and from approximately 440 per course for




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    All references to “RMB” herein are to China’s official currency, renminbi.

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the three months ended March 31, 2018 to approximately 980 per course for the

same period in 2019.”

      27.    In correlation with rapid growth in student enrollment, the Offering

Documents also touted rapid growth in profitability, representing that GSX’s “net

revenues increased by 307.1% to RMB397.3 million (US$59.2 million) in 2018 from

RMB97.6 million in 2017 and by 474.0% to RMB269.2 million (US$40.1 million)

in the three months ended March 31, 2019 from RMB46.9 million in the same period

in 2018”; “gross billings increased by 437.8% to RMB655.1 million (US$97.6

million) in 2018 from RMB121.8 million in 2017 and by 392.0% to RMB300.1

million (US$44.7 million) for the three months ended March 31, 2019 from

RMB61.0 million for the same period in 2018”; and GSX “generated a net income

of RMB19.7 million (US$2.9 million) in 2018, compared with a net loss of

RMB87.0 million in 2017, and generated a net income of RMB33.9 million (US$5.1

million) for the three months ended March 31, 2019, compared with a net loss of

RMB3.6 million for the same period in 2018.”

      28.    Finally, with respect to teacher qualifications, the Offering Documents

advised investors that Defendants “relentlessly pursue the highest quality in [their]

course offerings”; their “education excellence is backed by [their, inter alia,] high

quality teachers”; Defendants “pride [them]selves of [their] rigorous and systematic

teacher selection and coaching process”; and, “[f]rom the pool of prospective



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instructors [Defendants] identified in 2018 and during the three months ended March

31, 2019, [they] meticulously evaluated and employed less than 2% of the

candidates.”

      29.      On August 22, 2019, GSX issued a press release announcing its

financial and operating results for the second quarter of 2019—GSX’s first earnings

release following the IPO (the “2Q19 Earnings Release”).         For the quarter,

Defendants, among other results, highlighted that “[n]et revenues increased 413.4%

year-over-year to RMB353.7 million from RMB68.9 million in the same period of

2018”; “[g]ross billings[] increased 462.4% year-over-year to RMB599.4 million

from RMB106.6 million in the same period of 2018”; “[g]ross profit margin[]

increased to 71.4% from 61.4% in the same period of 2018”; “[n]on-GAAP

[Generally Accepted Accounting Principles] gross profit margin increased to 72.6%

from 61.5% in the same period of 2018”; “[i]ncome from operations increased to

RMB16.2 million from loss from operations of RMB0.5 million in the same period

of 2018”; “[n]on-GAAP income from operations increased to RMB31.1 million

from RMB0.2 million in the same period of 2018”; and that “[t]otal enrollments

increased 250.3% to 592,000 from 169,000 in the same period of 2018.”

      30.      Additionally, the 2Q19 Earnings Release quoted Defendant Chen, who

touted, in relevant part, Defendants’ “extremely high teaching quality” and that

Defendants “focus on hiring only the very best teachers in China,” which, “combined



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with [GSX’s] cutting edge technology, effectively ensures the best learning results

for students.”

      31.    Finally, the 2Q19 Earnings Release quoted Defendant Shen, who stated

that Defendants “entered 2019 with robust growth in the first quarter”; “strong

momentum across all of [GSX’s] key operating metrics helped drive the strong

financial performance during the second quarter”; “gross billings in the second

quarter increased 462.4% year-over-year to RMB599.4 million”; GSX’s “net

revenue increased 413.4% year-over-year to RMB353.7 million”; and all of the

foregoing “demonstrate[ed] that [Defendants] have been effectively executing

[their] strategy, and that [their] unique education model is resonating with parents

and supporting their kids in China's highly competitive education environment.”

      32.    On November 5, 2019, GSX issued a press release announcing its

financial and operating results for the third quarter of 2019 (the “3Q19 Earnings

Release”). For the quarter, Defendants, among other results, highlighted that “[n]et

revenues increased 461.5% year-over-year to RMB557.0 million”; “[g]ross

billings[] increased 419.5% year-over-year to RMB880.0 million”; “[g]ross profit

margin[] increased to 71.9% from 62.2% in the same period of 2018”; “[n]on-GAAP

gross profit margin increased to 72.8% from 62.2% in the same period of 2018”;

“[n]on-GAAP income from operations increased to RMB7.4 million from RMB0.4

million in the same period of 2018”; “[n]et income increased to RMB1.9 million



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from RMB0.7 million in the third quarter of 2018”; “[n]on-GAAP net income

increased to RMB20.1 million from RMB1.0 million in the same period of 2018”;

and “[t]otal enrollments increased 240.2% year-over-year to 820,000.”

      33.    Additionally, the 3Q19 Earnings Release quoted Defendant Chen, who

touted, in relevant part, GSX’s “exponential growth,” which “demonstrate[d]

[GSX’s] superior teaching quality and excellent customer experience.”

      34.    Finally, the 3Q19 Earnings Release quoted Defendant Shen, who

represented that Defendants “saw third quarter net revenues surpass[] the high end

of our guidance and strongly beat the street consensus, rising 461.5% YoY to

RMB557 million”; “[r]evenue from [Defendants’] core business, the K12 after

school tutoring, grew even faster, by 525.5%”; “[g]ross billings, an important

leading indicator that provides significant visibility on our next quarter's revenue,

increased 419.5% [year-over-year] to RMB880 million”; “[t]hanks to the continuous

upgrading of [Defendants’] corporate and organizational capabilities, as well as

effective execution of [their] marketing strategy, [Defendnats] observed the

remarkable growth in paid course enrollments”; and Defendants “also managed to

post [their] sixth consecutive quarter of non-GAAP profitability, in a fiercely

competitive landscape.”

      35.    On February 18, 2020, GSX issued a press release announcing its

financial and operating results for the fourth quarter and full year 2019 (the



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“4Q/FY19 Earnings Release”). For the quarter, Defendants, among other results,

highlighted that “[n]et revenues increased 412.9% year-over-year to RMB935.0

million”; “[g]ross billings[] increased 396.3% year-over-year to RMB1,578.6

million”; “[i]ncome from operations increased 604.2% year-over-year to RMB167.6

million, from RMB23.8 million in the same period of 2018”; “[n]on-GAAP income

from operations increased 572.2% year-over-year to RMB190.9 million, from

RMB28.4 million in the same period of 2018”; “[n]et income increased 658.7%

year-over-year to RMB174.5 million, from RMB23.0 million in the same period of

2018”; “[n]on-GAAP net income increased 616.7% year-over-year to RMB197.8

million, from RMB27.6 million in the same period of 2018”; “[c]ash and cash

equivalents, short-term investments and long-term investments totaled RMB2,735.7

million as of December 31,2019, compared to RMB236.5 million as of December

31, 2018”; and “[t]otal enrollments increased 290.2% year-over-year to 1,120,000.”

      36.   For the fiscal year, Defendants, among other results, highlighted that

“[n]et revenues increased 432.3% year-over-year to RMB2,114.9 million”; “[g]ross

billings[] increased 412.6% year-over-year to RMB3,358.2 million”; “[i]ncome

from operations increased 1,023.4% year-over-year to RMB215.7 million, from

RMB19.2 million in the fiscal year of 2018”; “[n]on-GAAP income from operations

increased 999.6% year-over-year to RMB276.0 million, from RMB25.1 million in

the fiscal year of 2018”; “[n]et income increased 1,050.3% year-over-year to



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RMB226.6 million, from RMB19.7 million in the fiscal year of 2018”; “[n]on-

GAAP net income increased 1,020.7% year-over-year to RMB286.9 million, from

RMB25.6 million in the fiscal year of 2018”; and “[t]otal enrollments increased

257.6% year-over-year to 2,743,000.”

      37.    Additionally, the 4Q/FY19 Earnings Release quoted Defendant Chen,

who stated, in relevant part, that, “[a]s you can see from the [Company’s] stellar

performance, GSX came a long way in the fourth quarter of 2019 by many

measures”; GSX’s “revenues and gross billings growth occup[ied] [a] leading

position in the online education industry”; Defendants “extremely focus on

delivering teaching quality, strengthening organizational capability, improving

operational efficiency, as well as attracting intelligent, education-loved and

dedicated talents”; “[a]s 2020 unfolds, [Defendants] continue to be committed to

hiring and retaining top-notch teachers and talented professionals”; and Defendants

“will continue [their] growth with emphasis on effectiveness and profitability

strategy as [they] have been doing over the past three years.”

      38.    Finally, the 4Q/FY19 Earnings Release quoted Defendant Shen, who

touted that “[n]et revenue, gross billings and net income all hit record highs during

the quarter”; “[n]et revenue surged 412.9% year-over-year to RMB935.0 million

during the quarter which propelled full year net revenue to RMB2.11 billion”;

“[g]ross billings for the year reached RMB3.36 billion while net income was



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RMB226.6 million and non-GAAP net income was amounted to RMB286.9

million”; “[r]evenues from [GSX’s] core K-12 large online live classes maintained

lightspeed growth, increasing 468% year-over-year during the quarter driven by paid

enrollments which increased 410% year-over-year”; and “[t]hese phenomenal

results during the quarter are a direct result of [Defendants’] augmented

organizational capabilities, effective execution of [their] corporate strategy, and

improving operational efficiency.”

      39.    The statements referenced in ¶¶ 25-38 were materially false and

misleading because Defendants made false and/or misleading statements, as well as

failed to disclose material adverse facts about the Company’s business, operational

and compliance policies. Specifically, Defendants made false and/or misleading

statements and/or failed to disclose that: (i) GSX overstated its profitability, revenue,

student enrollment figures, teacher qualifications, and teacher selection process; (ii)

the foregoing, once revealed, was foreseeably likely to have a material negative

impact on the Company’s financial results; and (iii) as a result, the Company’s public

statements were materially false and misleading at all relevant times.

                            The Truth Begins to Emerge

      40.    On February 25, 2020, Grizzly published a report highlighting multiple

alleged issues with GSX’s business and financial operations. Specifically, the

Grizzly Report alleged, among other issues, that the Company “has been drastically



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overstating its profitability in its US public filings, especially for 2018”; Grizzly

“found multiple strong indications of past and current order ‘brushing,’” which are

“essentially fake student enrollments to boost student count”; “many of GSX’s

reported students do not actually exist”; and “[w]hile [GSX] touts its high-quality

teacher recruitment mechanism, [Grizzly] found a sign-up website that was not

functional, multiple allegations of GSX hiring teachers right out of college with no

prior experience, and fabricated teachers profiles.”

      41.    With respect to Grizzly’s allegation that GSX’s profitability was

overstated, the Grizzly Report cited “[t]he [PRC] credit reports [Grizzly] obtained

for GSX’s 7 main operating entities,” which “show[ed] that GSX has apparently

been overstating its net profit by an astounding 74.6% in 2018.” Specifically,

Grizzly cited the fact that GSX’s “consolidated net loss for 2017 [based on PRC

credit reports] was RMB 86.1 million, which is almost a perfect match with the SEC

reported loss of 87.0 million in 2017,” but that “consolidated net profit was RMB

11.25 million based on [PRC] Credit Reports, which is 42.7% less than the SEC

reported net profit of RMB 19.7 million in 2018,” and that “[t]he slight difference

of the consolidated revenues between [PRC] credit reports and SEC reported

numbers, as well as the small difference of the consolidated net loss between credit

reports and SEC reported numbers in 2017,” indicated that GSX “has been mainly

manipulating its profits in 2018.”



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       42.    The Grizzly Report further posited that GSX used unconsolidated

related parties to manipulate financials, noting that Grizzly “found multiple parties

that [its] suspect[s] of effectively acting as an alter ego of GSX,” and that, “[s]ince

these parties are not consolidated, expenses do not appear on GSX’s financials,”

with “[t]hese ‘alter-ego’ entities effectively allow[ing] GSX to shift expenses off the

books as it pleases.”

       43.    Additionally, with respect to Grizzly’s allegation that GSX’s student

enrollment figures were fabricated, the Grizzly Report cited “a report published in

June 2015, [wherein] GSX asked companies to brush orders (which means using

fake accounts to purchase online classes offered by GSX and create inflated demand

for those classes) for them”; “evidence that the company is currently actively

recruiting people to brush orders”; that Grizzly “signed up for a free account on

GSX’s mobile portal and found a suspicious profile of another user that blatantly

advertised jobs to brush orders for the company”; and “a recent report published by

‘Moses English’ on December 15, 2019,” a “thought leader in China on online

education” who found “multiple great identical reviews to teachers,” including “at

least 6 incidences where ‘students’ in different groups gave out exactly identical

reviews” and “as many as 25 comments that were identical and repeated by different

users in different . . . groups.”




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      44.    Finally, with respect to Grizzly’s allegation that GSX fabricated the

quality and selection of GSX’s teachers, the Grizzly Report cited a former alleged

GSX employee, who stated that “GSX actually hires cheap teachers that just

graduated and also allows applicants to make up their profile,” and who was

concerned about “[o]rder brushing firms [that] give 5-star reviews and create fake

student profiles.” According to the Grizzly Report, these concerns were reaffirmed

by several other ex-employees, and Grizzly “attempted to validate these concerns by

trying to construct a fake profile online and submitting [its] application through the

GSX teacher application portal,” but found that, “to [Grizzly’s] surprise, the portal

does not even work.”

      45.    Following publication of the Grizzly Report, GSX’s ADS price fell

$1.33 per share, or 2.93%, to close at $44.09 per share on February 25, 2020.

However, GSX’s securities continued to trade at artificially inflated prices

throughout the rest of the Class Period as a result of Defendants’ continued

misstatements concerning the Company’s business results.

      46.    For example, on April 3, 2020, GSX filed an Annual Report on Form

20-F with the SEC, reporting the Company’s financial and operating results for the

fiscal year ended December 31, 2019 (the “2019 20-F”). The 2019 20-F affirmed

the results announced in the 4Q/FY19 Earnings Release with respect to the




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Company’s net revenues, income from operations, net income, and total enrollments

for the full year on a GAAP basis.

      47.    Additionally, the 2019 20-F contained substantively the same

statements as referenced in ¶¶ 25-28, supra, concerning GSX’s net income/loss and

net revenues for fiscal years 2017 and 2018, management’s discussion and analysis

in comparing the foregoing, student enrollment figures for fiscal years 2017 and

2018, teacher qualifications, and rigorous selection process for hiring teachers.

      48.    Appended as exhibits to the 2019 20-F were signed certifications

pursuant to the Sarbanes-Oxley Act of 2002, wherein the Individual Defendants

certified that “[t]he [2019 20-F] fully complies with the requirements of Section

13(a) or 15(d) of the Securities Exchange Act of 1934” and that “[t]he information

contained in the [2019 20-F] fairly presents, in all material respects, the financial

condition and results of operations of the Company.”

      49.    The statements referenced in ¶¶ 46-48 were materially false and

misleading because Defendants made false and/or misleading statements, as well as

failed to disclose material adverse facts about the Company’s business, operational

and compliance policies. Specifically, Defendants made false and/or misleading

statements and/or failed to disclose that: (i) GSX overstated its profitability, revenue,

student enrollment figures, teacher qualifications, and teacher selection process; (ii)

the foregoing, once revealed, was foreseeably likely to have a material negative



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impact on the Company’s financial results; and (iii) as a result, the Company’s public

statements were materially false and misleading at all relevant times.

                            The Truth Fully Emerges

      50.    On April 14, 2020, Citron published a report highlighting additional

alleged issues with GSX’s business and financial operations, including, among other

issues, that the Company’s “2019 revenue was overstated by 70%,” that “sales

revenues are largely exaggerated,” and that the Company’s “filings are riddled with

suspicious transactions.”

      51.    Specifically, with respect to GSX’s revenues, the Citron Report alleged

that “[a]fter tracking >20% of available GSX classes, Citron estimates that 2019

revenue was overstated by 70%”; that Citron’s “data indicates that most students are

not from lower-tier cities, as GSX claims, when trying to explain how the company

can grow so quickly when most Chinese parents in Tier 1 and 2 cities have never

heard of them”; that “Wuhan and the surrounding area make up almost 50% of the

student composition in [the first quarter of GSX’s fiscal year] 2020,” which further

supported Citron’s thesis that “a large % of revenues are fudged given the large

number of free classes offered to students of Wuhan during the Covid-19 crisis and

. . . implies that GSX couldn’t have a strong diversified student base to begin with,

and that the previous sales revenues are largely exaggerated”; and that “[d]uplicated

classes (i.e., counted more than once) could be one way that revenues are inflated.”



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      52.    Additionally, with respect to suspicious transactions in GSX’s SEC

filings, the Citron Report noted that “[i]n response to criticism of their PRC credit

reports and SEC filings showing a 75% discrepancy in net profits,” Defendants

asserted that “[t]he gap between the company’s credit report and S-1 filing was

actually GAAP difference between China and U.S. after the group's restructured to

spin-off 2B business in 2017.” However, according to the Citron Report, “Citron

along with accounting experts dug through [GSX’s] F-1 and 20-F filings for any

disclosures around a spin-off or divestiture,” and found that Defendants’

representations were false. Specifically, the Citron Report cited “[p]age F-27 of

[GSX’s] F-1 filing,” which noted that relevant disposed entities “were insignificant

and thus, did not have a major effect on [GSX’s] operation.”             Thus, Citron

questioned “[h]ow . . . an ‘insignificant’ transaction drive[s] a 75% difference in net

profit between [Defendants’] SEC filings and PRC credit reports?”

      53.    Following publication of the Citron Report, GSX’s ADS price fell

$0.20 per share, or 0.64%, to close at $31.20 per share on April 14, 2020—a total

decline of 31.31% since the truth concerning GSX’s alleged fraud began to emerge.

      54.    As a result of Defendants’ wrongful acts and omissions, and the

precipitous decline in the market value of the Company’s securities, Plaintiff and

other Class members have suffered significant losses and damages.




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                 PLAINTIFF’S CLASS ACTION ALLEGATIONS

      55.    Plaintiff brings this action as a class action pursuant to Federal Rule of

Civil Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who

purchased or otherwise acquired GSX securities during the Class Period (the

“Class”); and were damaged upon the revelation of the alleged corrective

disclosures. Excluded from the Class are Defendants herein, the officers and

directors of the Company, at all relevant times, members of their immediate families

and their legal representatives, heirs, successors or assigns and any entity in which

Defendants have or had a controlling interest.

      56.    The members of the Class are so numerous that joinder of all members

is impracticable. Throughout the Class Period, GSX securities were actively traded

on the NYSE. While the exact number of Class members is unknown to Plaintiff at

this time and can be ascertained only through appropriate discovery, Plaintiff

believes that there are hundreds or thousands of members in the proposed Class.

Record owners and other members of the Class may be identified from records

maintained by GSX or its transfer agent and may be notified of the pendency of this

action by mail, using the form of notice similar to that customarily used in securities

class actions.




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       57.       Plaintiff’s claims are typical of the claims of the members of the Class

as all members of the Class are similarly affected by Defendants’ wrongful conduct

in violation of federal law that is complained of herein.

       58.       Plaintiff will fairly and adequately protect the interests of the members

of the Class and has retained counsel competent and experienced in class and

securities litigation. Plaintiff has no interests antagonistic to or in conflict with those

of the Class.

       59.       Common questions of law and fact exist as to all members of the Class

and predominate over any questions solely affecting individual members of the

Class. Among the questions of law and fact common to the Class are:

                 whether the federal securities laws were violated by Defendants’ acts
                  as alleged herein;

                 whether statements made by Defendants to the investing public during
                  the Class Period misrepresented material facts about the business,
                  operations and management of GSX;

                 whether the Individual Defendants caused GSX to issue false and
                  misleading financial statements during the Class Period;

                 whether Defendants acted knowingly or recklessly in issuing false and
                  misleading financial statements;

                 whether the prices of GSX securities during the Class Period were
                  artificially inflated because of the Defendants’ conduct complained of
                  herein; and

                 whether the members of the Class have sustained damages and, if so,
                  what is the proper measure of damages.


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      60.       A class action is superior to all other available methods for the fair and

efficient adjudication of this controversy since joinder of all members is

impracticable. Furthermore, as the damages suffered by individual Class members

may be relatively small, the expense and burden of individual litigation make it

impossible for members of the Class to individually redress the wrongs done to them.

There will be no difficulty in the management of this action as a class action.

      61.       Plaintiff will rely, in part, upon the presumption of reliance established

by the fraud-on-the-market doctrine in that:

                Defendants made public misrepresentations or failed to disclose
                 material facts during the Class Period;

                the omissions and misrepresentations were material;

                GSX securities are traded in an efficient market;

                the Company’s shares were liquid and traded with moderate to heavy
                 volume during the Class Period;

                the Company traded on the NYSE and was covered by multiple
                 analysts;

                the misrepresentations and omissions alleged would tend to induce a
                 reasonable investor to misjudge the value of the Company’s
                 securities; and

                Plaintiff and members of the Class purchased, acquired and/or sold
                 GSX securities between the time the Defendants failed to disclose or
                 misrepresented material facts and the time the true facts were
                 disclosed, without knowledge of the omitted or misrepresented facts.




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      62.    Based upon the foregoing, Plaintiff and the members of the Class are

entitled to a presumption of reliance upon the integrity of the market.

      63.    Alternatively, Plaintiff and the members of the Class are entitled to the

presumption of reliance established by the Supreme Court in Affiliated Ute Citizens

of the State of Utah v. United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as

Defendants omitted material information in their Class Period statements in violation

of a duty to disclose such information, as detailed above.

                                      COUNT I

(Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated
                     Thereunder Against All Defendants)

      64.    Plaintiff repeats and re-alleges each and every allegation contained

above as if fully set forth herein.

      65.    This Count is asserted against Defendants and is based upon Section

10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated

thereunder by the SEC.

      66.    During the Class Period, Defendants engaged in a plan, scheme,

conspiracy and course of conduct, pursuant to which they knowingly or recklessly

engaged in acts, transactions, practices and courses of business which operated as a

fraud and deceit upon Plaintiff and the other members of the Class; made various

untrue statements of material facts and omitted to state material facts necessary in

order to make the statements made, in light of the circumstances under which they

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were made, not misleading; and employed devices, schemes and artifices to defraud

in connection with the purchase and sale of securities. Such scheme was intended

to, and, throughout the Class Period, did: (i) deceive the investing public, including

Plaintiff and other Class members, as alleged herein; (ii) artificially inflate and

maintain the market price of GSX securities; and (iii) cause Plaintiff and other

members of the Class to purchase or otherwise acquire GSX securities and options

at artificially inflated prices. In furtherance of this unlawful scheme, plan and course

of conduct, Defendants, and each of them, took the actions set forth herein.

      67.    Pursuant to the above plan, scheme, conspiracy and course of conduct,

each of the Defendants participated directly or indirectly in the preparation and/or

issuance of the quarterly and annual reports, SEC filings, press releases and other

statements and documents described above, including statements made to securities

analysts and the media that were designed to influence the market for GSX

securities. Such reports, filings, releases and statements were materially false and

misleading in that they failed to disclose material adverse information and

misrepresented the truth about GSX’s finances and business prospects.

      68.     By virtue of their positions at GSX, Defendants had actual knowledge

of the materially false and misleading statements and material omissions alleged

herein and intended thereby to deceive Plaintiff and the other members of the Class,

or, in the alternative, Defendants acted with reckless disregard for the truth in that



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they failed or refused to ascertain and disclose such facts as would reveal the

materially false and misleading nature of the statements made, although such facts

were readily available to Defendants. Said acts and omissions of Defendants were

committed willfully or with reckless disregard for the truth. In addition, each

Defendant knew or recklessly disregarded that material facts were being

misrepresented or omitted as described above.

      69.    Information showing that Defendants acted knowingly or with reckless

disregard for the truth is peculiarly within Defendants’ knowledge and control. As

the senior managers and/or directors of GSX, the Individual Defendants had

knowledge of the details of GSX’s internal affairs.

      70.    The Individual Defendants are liable both directly and indirectly for the

wrongs complained of herein. Because of their positions of control and authority,

the Individual Defendants were able to and did, directly or indirectly, control the

content of the statements of GSX. As officers and/or directors of a publicly-held

company, the Individual Defendants had a duty to disseminate timely, accurate, and

truthful information with respect to GSX’s businesses, operations, future financial

condition and future prospects.       As a result of the dissemination of the

aforementioned false and misleading reports, releases and public statements, the

market price of GSX securities was artificially inflated throughout the Class Period.

In ignorance of the adverse facts concerning GSX’s business and financial condition



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which were concealed by Defendants, Plaintiff and the other members of the Class

purchased or otherwise acquired GSX securities at artificially inflated prices and

relied upon the price of the securities, the integrity of the market for the securities

and/or upon statements disseminated by Defendants, and were damaged thereby.

      71.    During the Class Period, GSX securities were traded on an active and

efficient market. Plaintiff and the other members of the Class, relying on the

materially false and misleading statements described herein, which the Defendants

made, issued or caused to be disseminated, or relying upon the integrity of the

market, purchased or otherwise acquired shares of GSX securities at prices

artificially inflated by Defendants’ wrongful conduct. Had Plaintiff and the other

members of the Class known the truth, they would not have purchased or otherwise

acquired said securities, or would not have purchased or otherwise acquired them at

the inflated prices that were paid. At the time of the purchases and/or acquisitions

by Plaintiff and the Class, the true value of GSX securities was substantially lower

than the prices paid by Plaintiff and the other members of the Class. The market

price of GSX securities declined sharply upon public disclosure of the facts alleged

herein to the injury of Plaintiff and Class members.

      72.    By reason of the conduct alleged herein, Defendants knowingly or

recklessly, directly or indirectly, have violated Section 10(b) of the Exchange Act

and Rule 10b-5 promulgated thereunder.



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      73.    As a direct and proximate result of Defendants’ wrongful conduct,

Plaintiff and the other members of the Class suffered damages in connection with

their respective purchases, acquisitions and sales of the Company’s securities during

the Class Period, upon the disclosure that the Company had been disseminating

misrepresented financial statements to the investing public.

                                     COUNT II

    (Violations of Section 20(a) of the Exchange Act Against The Individual
                                   Defendants)

      74.    Plaintiff repeats and re-alleges each and every allegation contained in

the foregoing paragraphs as if fully set forth herein.

      75.    During the Class Period, the Individual Defendants participated in the

operation and management of GSX, and conducted and participated, directly and

indirectly, in the conduct of GSX’s business affairs.      Because of their senior

positions, they knew the adverse non-public information about GSX’s misstatement

of income and expenses and false financial statements.

      76.    As officers and/or directors of a publicly owned company, the

Individual Defendants had a duty to disseminate accurate and truthful information

with respect to GSX’s financial condition and results of operations, and to correct

promptly any public statements issued by GSX which had become materially false

or misleading.




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      77.    Because of their positions of control and authority as senior officers,

the Individual Defendants were able to, and did, control the contents of the various

reports, press releases and public filings which GSX disseminated in the marketplace

during the Class Period concerning GSX’s results of operations. Throughout the

Class Period, the Individual Defendants exercised their power and authority to cause

GSX to engage in the wrongful acts complained of herein. The Individual

Defendants therefore, were “controlling persons” of GSX within the meaning of

Section 20(a) of the Exchange Act. In this capacity, they participated in the unlawful

conduct alleged which artificially inflated the market price of GSX securities.

      78.    Each of the Individual Defendants, therefore, acted as a controlling

person of GSX. By reason of their senior management positions and/or being

directors of GSX, each of the Individual Defendants had the power to direct the

actions of, and exercised the same to cause, GSX to engage in the unlawful acts and

conduct complained of herein. Each of the Individual Defendants exercised control

over the general operations of GSX and possessed the power to control the specific

activities which comprise the primary violations about which Plaintiff and the other

members of the Class complain.

      79.    By reason of the above conduct, the Individual Defendants are liable

pursuant to Section 20(a) of the Exchange Act for the violations committed by GSX.




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                             PRAYER FOR RELIEF

WHEREFORE, Plaintiff demands judgment against Defendants as follows:

      A.     Determining that the instant action may be maintained as a class action

under Rule 23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the

Class representative;

      B.     Requiring Defendants to pay damages sustained by Plaintiff and the

Class by reason of the acts and transactions alleged herein;

      C.     Awarding Plaintiff and the other members of the Class prejudgment and

post-judgment interest, as well as their reasonable attorneys’ fees, expert fees and

other costs; and

      D.     Awarding such other and further relief as this Court may deem just and

proper.

                        DEMAND FOR TRIAL BY JURY

      Plaintiff hereby demands a trial by jury.



Dated: April 17, 2020                         Respectfully submitted,

                                              POMERANTZ LLP


                                              /s/ Gustavo F. Bruckner
                                              Gustavo F. Bruckner
                                              Jeremy A. Lieberman
                                              (pro hac vice application forthcoming)
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